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                        UM TED STATES DISTRICT COURT
                       SOU TIV RN DISTRICT OF FLORIDA

                                                                M iam iDivision

                    Case No-:1: 16-cv-25052 M ARTIN EZ/GOODM AN

      HORACIO SEQUEIRA,A Citizenofthe
      U nited StatesofA m erica
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               DEFENDA NTS
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       NO TICE OF ERR ATA R EG ARDIN G R EPLY AND D ECLA M TION
       O F M R.M ARIA NO G UERRA M O M LES FILED O N FEBRUARY
                       23,2018 D O C K ET N 0 .74-75.

      TO 'ITIE COURT, ALL PARTIES Ar          THEIR ATTORN YEY S OF
      RECO R D :

          PLEA SE TA u N O TICE thaton February 23,2018 Plaintiff,M r.

      H oracio Sequeira filed areply and a docum ententitled Declaration of

      M ariano GuerraM oraleswho declared thatthelnstituteofRuraldevelopm ent

      m ade contractswith M r.Sequeira and regarding ExhibitHB''attached by

      PlaintiffReply filed on February 23,2018,againstopposition filed by State
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     defendant,during the filing ofthisdocum entsplaintiff,H oracio Sequeira

     inadvertently failed to attach therentalcontractand English translation with

     thecheckNo.6934 issuedbyEduardoJoseCallejasCallejassignedbyM r.
     EduardoJoseCallejasCallejasandM r.Sequeirawiththeauthorizationofthe
     Institute ofthe ruraldevelopm entofN icaragua,PlaintiF attach English

     translation ofsaid rentalcontract,w hich consistsofa true and correctcopy.

     A ttached hereto said docum entin supportthe R eply in opposition State

     defendantsleaveto nm endthecomplaint(DE 70-70-2)asExhibitçç1''
     Plaintiff isdoing the bestto bring the othercontractssigned 9om Nicaragua

     through 1D R thatis overseas.Plaintiffapologizes for any inconvenience.

     Executed on M arch 5,2018



          Respectfully subm itted by,



     By: or c (?       el ,Pro S
     Phone;786-/6 -1 2
     13280 PortSaid R d.C301
     Opa-laocka,Fl.33054
     centrolatinos@hotmail.com




                           C ER TIFIC A TE O F SER V IC E
Case 1:16-cv-25052-JEM Document 76 Entered on FLSD Docket 03/05/2018 Page 3 of 8




           1 HEREBY CERTIFY that a true and correctcopy of the foregoing

     docunnent vvas served electronically and via U.S.M ail,and on M arch 5,

     2018,to al personsshown on thefollowing Service list.
                                       '
                                   .
                                           j

     By:Ho '           ra,Pro Se
     Phone:786- 68-1792
     13280 PortSaid Rd.C301
     O pa-Locka Fl.33054
     centrolatinos@hotmail.com

                                           SERV ICE LIST

     G abrielFernandez &
     A nthony J.Tinelli
     M ase Tinelli,P.A .
     A ttom eys forD efendant
     Eduardo JoseCallejasCallejas
     2601 S.B ayshore Drive,Suite 800
     M iam i,Florida 33133


     Silverio & H all
     Brian M .Silverio
     150 W estFlager Street,PH 2850
     M iam i,Florida 33130
     Attom eysforD efendantsEstrellitaTroz
     M artinez,N icaragua,and Chinandega
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                                           EX H IB IT 01''




                                               EX H IB IT ''1''
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    CONTM TO DE COM PRA ARRIENDO CON OPCION A COM PRA DE LA PROPIEDAD EL
    PW AL Y CONTRATO DE SOCIEDAD PARA CRIANZA.PRODUCCION EN NICARAGUA Y
    COM ERCIALIZACION DE DICHO GANADO EN LOS ESTADOS UNIO S EL CUAL
    PERTENECENAL INSO TO DE DESARROLLO RURAL SESENTA CRIAS CADA
    PERIODO DE PRODUCCION .
    EN LA CIUDAD DE MIAMIFLORIDA A LAS DIEZ DE LA MANANA DEL Dm SIETE DE ENERO DEL
    DOS MIL SEIS COMPARECEN LOS SENORES HORACIO M MON SEQUEIM ARGENALy
    EDUARDO JOSE CALLEJAS CALLEJAS,AMBOS MAYORES DE EDAD,CASAX S,COMERCIANTES
    DEL DOMICIH O DE MIAMIFLORIDA Y DICE EL PRIMERO DE LOS COMPARECIENTES
    EDUARDO JOSECALLEJAS CALLEJAS,Dice elprimero de Ioscomparecientes PRIM ERO :Senor
    Horacio Ramon Sequeira Argenal,que esdueno en dom inio y posesion de una propiedad
    ubicada en Nicaragua,en elsedordeICongo de quinientas manzanas de extension Superficial,
    dentro de Ia m isma propiedad tiene cuatrocientas cabezas de Ganado vacuno de raza
    brahaman colorblancoy rojo,dicho Ganado lo hatenido enproduccion desdeelano dosmi1
    uno cuando contrato con elEstado de Nicaragua elIN O DE DESARROLLO RUM L,CON
    ELSENOR Dired orMARM NO GUERRA MORALES,A quien le otorgo sesenta cabezas de Ganado
    vacunojunto con IossenoresGeovanniPerezContrerasyCarlosFranciscoZapata Rocha,dicho
    Ganado la produccion sera especialmente,dicho Ganado era exclusivamente para crianza y
    exportacion elque fue adquirido porelgobierno de Nicaragua y entregado a pequenos
    produdores como elSenorHoracio Ramon Sequeira Argenalen concepto de arriendo y
    comercializacion,especialmente para Ia cria y exportacion hacia losEstadosUnidosde Norte
    America.SEGUN-
                 K :Poreste ledioelsenorEduardoJoseCallejasCallejasdicequese
    cpmpromete a criardicho Ganado en Nicaragua y comercializarlo con elsenorHoracio Ramon
    Sequeira Argenalexclusivamente en la Ciudad de MiamiFlorida,La propiedad delsenorHoracio
    Sequeira debera de serinspeccionada porelInstituto de Desarrollo Rural,para efectosde verIa
    crianza y elcuido deIGanado de exportacion hacia Ios Estados Unidoscuya raza deIGanado es
    Brahaman colorblanco yRojo marcadosconelfierrodeI1DR yelserrodeISenorHoracio
    Ramon SequeiraArgenalqueesIa cruzNacis.EIsenorEduardoJose CallejasCallejasse
    compromete a comprarle Ia flnca elpi
                                       talalsenorHoracio Sequeira Ia suma de miIdolares por
    cada manzana y dichos pagosloshara exclusivamente en Ios Estados Unidos,y IasventasdeI
    Ganado IasharaelsenorEduardoJoseCallejasCallejasdela majormanerapossiblec0nel
    pesoyvalorinternacionajde lacarne.TERCERO Tambien elsenorEduardoJose Callejas
    CallejassecomprometeacomprarleIasncaalsenorHoracio Sequeiraen abonosque le
    entregaraydondeparticiparasuesposaMilagrosR.deCallejas,asicomosuhermanoelsenor
    LuisCaflejasCallejas,quienTambienesrepresentante delgobiernode Nicaragua para efedos
     de Ia comercializacion de dicho Ganado con IosEeadosUnidos.En este ado le entrega Ia suma
     de ocho miIdolarescon cheque numero 6934,con lo que suma treinta y cutrom idolares en
     concepto de arriendo de losbienes. Am bos comparecientesfirman elpresente contrato y estan
     de acuerdo a someterce a Ias Ieyesde Ios EstadosUnidosen materia de comercio
     Internacional.Renuncian expresamente a lasIeyesNicaraguensesy se someten a Ias leyesde
     Ios Eea Unidos. ste ntrato es valido portreinta anos.                )
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     Horacio        Sequeira          #, DcLoHEscoszx.
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   T      SLA TION
   Leaseagreem ent with option to purthase realproperty called GEIPital''and contractof
   society forbreeding,produdion in Nicaragua and com m ercialization ofm eatofcattlein
   theUnited Statesofwhich cattlea partbelong to theinstituteofruraldevelopm entsix
   calves ofeach period ofproduction ofsixty cow s brahm an red and w hite.

   lnthecity ofM iamiFloridaat10 am ofJanuary 7,2006 appearHoracio Ramon Sequeira

   Argenal(M r.Sequeira)andEduardoJoseCallejasCallejas(Mr.Callejas)bothareadult,
   married,merchants,domiciled inMiamiFlorida.Mr.EduardoJoseCallejasCallejas and Mr.
   HoracioRamon SequeiraArgenalsay FIRST:M r.Horacio Ram on SequeiraArgenalsaythat

   isownerwithjusttitleandhasthepossession suchrealproperty locatedinNicaragua,
   jurisdictionofElViejo,in theregionofElCongooffivehundred blocks thatisequalofone
   thousand acresofsuperficialextension ofland.lnside oftheproperty related here,to exist

   400 PurecowsBrahm an red and whitecolorsuch cattleisin production sinceyear2001

   through a contractw ith the StateofNicaraguaby M r.M ariano Guerra M oraleswho

   representtheInstitute ofruraldevelopm ent w ho gaveto M r.Horacio Ram on Sequeira

   Argenal,Mr.GeovanniPerez Contrerasand CarlosFrancisco ZapataRochasuch cattle isfor

   production and exportation thatgaveto Nicaragua governmentand gave to m erchantsuch

   asHoracio Ram on SequeiraArgenalforcom m erceand rentatin specialforproduction and

   exportation toUnitedStatesofAmerica.SECOND:InthispapercontractMr.EduardoJose
   CallejasCallejassay thatsuchcattlewillbeinthepropertyofMr.HoracioRamonSequeira
   Argenaland isforcom m erce activity between Nicaraguaby the lnstituteof Rural

   Developm entthe com m ercialactivity willbein specialthe City ofMiam iFlorida.The

   instituteofRuraldevelopm entshould inspectthe cattle and carethem forgood exportation

   to United States,thecattleshould bem arked w ith the iron from lDR and from Mr.Horacio
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   RamonSequeiraArgenalthatistheGermanNaciscross.Also,Mr.EduardoJoseCallejas
   Callejascompromisetobuytheproperty ElPitaltoMr.HoracioRamonSequeiraArgeanal
   in theam ountofonethousand dollareach blocksofland equaloftw o acreseach block, M r.

   Callejaswillbeeachpaymentin United States,andthesaleofcattleasameatproductMr.
   CallejaswillbebyMr.EduardoJoseCallejasCallejas,inthebettermannerpossiblewith
   weightandinternationalvalueofthemeat.THIRD:Also,Mr,EduardoJoseCallejasCallejas
   com prom iseto buy theproperty to Mr.Horacio Sequeira in installm ent whow illgiveand

   withparticipation ofhiswifeMilagrosR.CallejasanshisbrotherLuisCallejasCallejas,who
   representthe Nicaraguagovernm entforthe comm ercein United States.In thisactM r.

   CallejasgivethoMr.Sequeiraachecknumber 6934,whocompletetheamountof34
   thousand dollarsin conceptofrentalofthe personalproperty.Both sign thiscontractand

   they areagree to undergoto com m ercelaw oftheUnited States.Thiscontractisvalid for

   thirty years.

   SignedbyHoracio Ram on SequeiraArgenaland Mr.EduardoJoseCallejasCallejas

   A FFIDAV IT TR AN SLATO R

   I5ï-ïoec-cz.-+ .>zm.t''-N          5herebycertifythatltranslatedtheattacheddocumentfrom
   Spanish to English and that,to thebestofm y ability,itisa trueand correcttranslation.1ftzrther
   certify thatlnm com petentin both Spanish and English to renderand certify such translation of
   thisdocum entbefore methisAugust5,2017.

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EDUARDO J.CALLEJAS                                      6934
OR M ILAGROSR.DECALLEJAS
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Atiazrti,FL 33196                                   M *'           B6
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